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                       IN THE UNITED STATES BANKRUPTCY COURT
                         FOR THE SOUTHERN DISTRICT OF TEXAS
                                  HOUSTON DIVISION

In re:                                               §
                                                     §
ERIN ENERGY CORPORATION, et                          §                 Case No. 18-32106
al., 1                                               §
       Debtors.                                      §                 Chapter 11
                                                     §
                                                     §                 (Jointly Administered)

                          NOTICE OF HEARING ON DEBTORS’
                          EMPLOYMENT APPLICATIONS AND
                      ORDINARY COURSE PROFESSIONALS MOTION

         PLEASE TAKE NOTICE that a hearing will be held before the Honorable Marvin

Isgur, United States Bankruptcy Judge, at the United States Bankruptcy Court, 515 Rusk, 4th

Floor, Courtroom 404, Houston, Texas 77002 on June 19, 2018 at 9:00 a.m. (CT), or at such

other time as the court may determine, on the following motions and supporting documents

requesting certain emergency relief (collectively, the “Motions”), which were filed by the

Debtors in connection with the Chapter 11 Cases:

         (i)     Debtors’ Application for an Order Pursuant to Sections 327(a) and 328(a) of the
                 Bankruptcy Code Authorizing the Employment and Retention of Okin Adams
                 LLP as Counsel for the Debtors [Docket No. 91];

         (ii)    Debtors’ Application Pursuant to Section 327(a) of the Bankruptcy Code
                 Authorizing the Employment and Retention of Stout Risius Ross, LLC as
                 Financial Advisor to the Debtors [Docket No. 93]; and

         (iii)   Expedited Motion for Entry of an Order Authorizing the Debtors to Retain and
                 Compensate Professionals Utilized in the Ordinary Course of Business [Docket
                 No. 196].




1
 The last four digits of Erin Energy Corporation’s (“ERN”) federal tax identification number are 9798. The other
Debtors in these cases are: Erin Energy Limited (“EEL”); Erin Energy Kenya Limited (“EEKL”); and Erin
Petroleum Nigeria Limited (“EPNL”). The Debtors’ service address is: 1330 Post Oak Blvd., Suite 2250, Houston,
TX 77056.
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       Copies of the above referenced Motions may be (i) inspected in the office of the Clerk of

the Bankruptcy Court during normal business hours; and (ii) downloaded from the Bankruptcy

Court’s website at http://www.txs.uscourts.gov/bankruptcy. Please note that prior registration

with the PACER Service Center and payment of a fee may be required to access such

documents. Requests for copies of the Motions and further information regarding hearing may

also be made to proposed counsel for the Debtors using the contact information below.

       Respectfully submitted this 15th day of June, 2018.

                                            Respectfully submitted,

                                            OKIN ADAMS LLP

                                            By:        /s/ Matthew S. Okin
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                                            PROPOSED ATTORNEYS FOR THE
                                            DEBTORS




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                              CERTIFICATE OF SERVICE

        I hereby certify that on June 15, 2018 the foregoing Notice of Hearing was served upon
filing via the Court’s EM/ECF electronic system on all parties subscribing thereto.



                                                   /s/ Matthew S. Okin
                                               Matthew S. Okin




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